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                                        Civil No.:
                                                                                                FILECI
                                                                                            U.S. DV~,T~;rT

                                           IInited States Courthouse
                                        Central District of California                    `JAN 3 12022
           Hernandez Cuellar Jose Victor, Sui juris)
                                                                                    CENTRAL DISTRICT O CALIFO~:NtA
           Montoya Valadez Dora Alicia, Sui juric )                                 EASTERN DIVISION ~BY DEPUTY j
           Pro Se Plaintiffs/Aggrieved Parties             )                    -

                            vs.                            )
           Omega-17, LLC, In Lieu Of                       )
           Eileen Raye Laurence, and associates            )
           Et al., ongoing                                                            ~M,~ ~Kx
                                                           )
                                                           ~ E ~ V ~ ~ ~ — o ~ ~ ~ ~'' 1t IV
           Defendants


                                    COMPLAINT PURSUANT A CIVIL ACTION

~le~'~3~                                          - Parties -

           Plaintiffs                                                                         Defendants

           Hernandez Cuellar Jose Victor, Pro Se                                      Omega-17, LLC,
           F.C.I. Texarkana                                                             In Lieu of
           P.O. BOX 7000                                                        Eileen Raye Laurence
           Texarkana, TX 75505-7000                                                   and associates
                                                                                        P.O.BOX 5043
                                                                                     Hemet, CA 92544
           Montoya Valadez Dora Alicia, Pro Se                                        elway@hush.com
           1642 Palisades Dr.                                                  essentialer@gmail.com
           Lewisville, Texas 75067
                                                                                       P.O.BOX 536
                                                                          Vaughn, Washington 98394
                                                                                Ph: (951) 765-0835


                                               - Jurisdiction -

           The controversy between Plaintiffs and Defendants are               personal injury           and
           economical   loss,   caused    by   Fradulent misrepresentation of          a "Writ" which
           actually had no lawful or legal standing. Defendant maliciously filed "writs"
           labeled as a "Constitutional Writs", to create a perception of an authentic
           "Constitutional Remedy" from a "paralegal services", which caused an undue
           hardship (irrefutable and irreversible) yet incalculable personal injury, and
           economical loss. Plaintiffs and Defendants are Citizens of different States,
           therefore,   this    Court    has   jurisdiction    under   Title   28 II.S.C. §1332 by
           Diversity of Citizenship.




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                                     COMPLAINT STATEMENTS
     On or about August 25, 2019          Mr. Hernandez, hereinafter "Plaintiff", was
contacted by Mrs. Eileen Raye Laurence, Hereinafter "Defendant", through a
"recommendation" from an unknown prisoner to inquire if Plaintiff are
 i nterested   in   being   helped    with   an   Habeas   Corpus   "Non-Statutory"    that
Defendant had being used to "help" prisoners with wrongful convictions [See
Attachment Aa, Ab ], included an "Information Form" sheet [See Attachment Ac ]
a nd a "Limited Power of Attorney" sheet too [See Attachment Ad ]. Plaintiffs
was unschooled in laws and was unable to review if such "version" of Habeas
Corpus are real or not, or at least have the opportunity to be able to review
the backgrounds, or reviews about Defendant's offered "services". Plaintiff
Montoya paid $2,500.00 from her personal check account to Defendant Eileen
Raye Laurence [See Attachment Ba, Bb ], after that, Plaintiffs received the
"Contract" to be signed by Plaintiff Hernandez, and returned to the Defendant
[See Attachment Ae ]. Plaintiffs did the paiment based on the hope that the
statement of the advertisement/propaganda that Plaintiff Hernandez received,
w hich it reeds "Important, please read and remember:... When you are released,
do not sign any agreement for probation..." See Attachment Ab ]. Also stated
that the "process" involves 2 steps.          First, the issue of the "Habeas Corpus
Non-Statutory".    Second, a "complaint" witr~ the provost marshal, if such
••document" were denied [See Attachment Ab ]. After the issuance of the Habeas
Corpus "Non-Statutory" to the Court by Defendant [See Attachment Ca, Cb ], on
or about MAR 3, 2020 The Court issued an order requiring a notification
between 30 days and warning/notifying that the action may be dismissed if
movant fails to timely respond/comply with the order [See Attachment Da, Db ].
Plaintiff wrote letters to defendant, with copies included about the order
from the Court, but Defendant did not respond. After while, on or about March
22, 2020 Defendant respond a short letter saying that she receipt the Court
orders, but now is sayi~~g that the complaint going to be send                  ~to~   the
[Congress      -which is not what the contract said nor the "second step" said-
and that I "do not expecting it to soon" [See Attachment Ea ].
Because Plaintiff was lack of legal knowledge, do not know what to do, and It
was unable to respond.       On or about JUN 11, 2020 A Magistrate judge issued a
report and recomendation to dismiss the "Writ" for want of prosecution                 See
Attachment Fa, Fb ].        On or about JUL 20, 2020         -4 Months and 4 days after
defendant said it would submit the "complaint"-             The District judge issue an
Order for dismissal [See Attachment Ga, Gb ].                Defendant did not respond

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subsequent letters from plaintiffs.                  On or about AUG 14, 2020           Defendant
Eileen Raye Laurence, respond to Plaintiffs with a letter were state that "the
Court has denied the habeas calling it a motion to vacate" -Which she already
knows from 4 months ago-          and that        "1-here is no point in doing a complaint
to the provost marshal"         -Not to the Congress-            "because he has not done his
job in regard to any complaint in the past..."               and that         "Trump -the former
president- has ordered that the Courts go back to common law, and that is your
remedy..." [See Attachment Ha ].   Plaintiffs then both realized that they
were victims of a fraud. And worse, Plaintiffs had not realized yet, the
deepness of the injure caused over the Plaintiff's criminal case at that time,
a nd over posteriors attempts of defenses to prove his actual innocence to the
District, Appellate, and Supreme Court.


                   INTENTIONAL INJURE OR INJURE BY DESIGN EXIST
     Since the     issue      of the    Habeas       Corpus "Non-Statutory"         by Defendant,
Plaintiff Hernandez has had a undue burden placed on him to be able to present
his innocence and true Constitutional rights violations over his criminal
case. Plaintiff are Constitutionally educated now, and have the lawful and
l egal knowledge to understand that the writ presented by Defendant, has no
l awful or legal standing, since it did not present any substantial evidence to
support those reckless statements, or any relevant case law precedent. Which
o bviate why Defendant did not submitted any reply to the Court. If Defendant
Eileen submitted the "Habeas Corpus Non-Statutory", she was then responsable
for any and all response from the Court associated to her "Writ" too, That's
was the purpose of the "Power of Attorney" that she required from Plaintiffs,
to be joined wit the payment. Plus, either the advertisement and the contract
clearly says "Non-Statutory Habeas Corpus $2500 for first Court involved:... "
Defendant's lack of responds was designed intentionally to allow the "Habeas
Corpus Non-Statutory" to be construed as a Motion 28 U.S.C. §2255 and tus the
Court can dismiss on time limitation. This dismissal by the Court would make
the plaintiffs, with no law knowledge, believe the problem is with the Court,
not the fact that the Defendant victimize the Plaintiffs in their time of
need, with filings that carried no legal standing, and destroying
o pportunities to access the Court with filings of true nature and legal/lawful
standing   challenging     the conviction.           Defendant    knowingly    was offering an
Habeas   Corpus   with   no    lawful   or legal standing. Defendant knowingly was
offering   a   fraudulent      "services".       Defendand   knowingly        and   intentionally

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targeted lawfully unknowledgeable people under duress which were praying for
help. People also by law considered as vulnerable victims, to offer them
"help" when it was just for profit, without any remorse of the injure that
such "writ"/"service"/"help" caused over people's cases, nor the posterior
available legal defense process. At least for Plaintiff Hernandez, this
"Writ", became a stone wall, procedurally speaking, to show his innocence, and
to present the existence of major structural error, and all the real
Constitutional violations before a District judge, to be Ruled on.


            SUMMARY ON THE INTENTIONAL OR BY DESIGN INJURE/INJURY
1.   The appeal for such "Writ" cannot stand, because lack of prosecution (a
timely respond from Plaintiff Hernandez). No Certificate of Appealability
cannot stand because there has been no prosecution of original constitutional
i ssue to being Ruled on. Also, any Mandamus, nor Certiorary writ can be
requested due to the same reasons above stated. Plus, any successive Habeas
Corpus can be requested, since thEre is no first one presented before, or at
l east, articulated as a Motion Habeas Corpus under 28 U.S.C. §2255 with a
relief included, to being properly Ruled by a District judge.


2.   Defendant stated that the provost Marshal "has not done his job in regard
to ANY complaint in the past..." [See Attachment Ha ], so, Defendant took the
Plaintiff's money knowingly that the "second step" never going to be done,
Plus, Defendant's letter state the opposite "the complain is something new for
me..." [See Attachment Ea ].


3.     If   such   "Non-Statutory   Habeas   Corpus" were   real , and   Defendant's
"experience" were real as stated on the "contract", there is no impediment to
submit a timely respond/objection back to the Court. Defendant and associates
never going to attending the "first Court involvement" as the contract and
advertisement stated in support of his "Writ", because it was an scam by
design...
                      ECONOMICAL INJURY ALSO ACTUALLY EXISST
     Plaintiff Hernandez is innocent of the criminal charges against him, and
has substantial Constitutional issues over his criminal case, trial and over
the whole process. Which if able to present in Court, will result in the
conviction to be vacated, if Plaintiff were to never have had presented this
fraudulent document called "Habeas Corpus Non-Statutory", Plaintiff could have

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 been able to properly file a 28 U.S.C. §2255 in Court Plaintiff would be at
 home by this time. Plaintiff had a small business providing handyman services
[See Attachment       Ia, Ib, Ic,                 ].     And
                                                   it had a basis income
approximately of $250.00 per day [Se Attachment Ja, Jb, Jc, Jd, Je,         ].
Plaintiff Hernandez usually was working 6 to 7 days a week, which result in an
approximate Monthly income of $7,500.00 to $8,000.00 U.S.Dollar.
From the day that Defendant submitted this fraudulent "Writ" (FEB 24, 2020)
till a day, yet to be determined, which may be 185 Months from today, if the
plaintiff Hernandez is not able to prove his actually innocence due to the
"Non-Statutory writ", it will represent a economical lost of approx.
$1,496,000.00 U.S.Dollar, estimated at a minimum rate, not including the
emotional and healthy inaury that the actual impediment to present defense,
ultimately caused over plaintiff's mind, and over his family too.


                                R E L I E F       S O U G H T
      Plaintiffs   wants   to    recoup   the     lose     of   potential   economic   gains,
$1,496,000.00 U.S.Dollar, plus punitive damages set by the Court of an amount
to discourage future similar conduct from Defendants Omega-17, LLC. In Lieu of
Eileen Raye Laurence and associates.
      It is the plaintiff's belief that, Defendants Omega-17, LLC., Eileen Ra.ye
Laurence, and Associates, to this day, has not responded to any of plaintiff's
l etters yet, because Defendant and associates knows very well what they did to
plaintiffs. Through this Civil Action, Plaintiffs also wants to expose Omega-
17, LLC's victimization of people in similar situation as my wife and myself,
as to stop/prevent future predatory practices of desperate people, that they
maybe doing to this present day.
Plaintiffs ask the Court to please file this Complaint, to initiate the
process of a Civil Action, to get a little of justice, and to prevent/stop the
commission of more harm over other vulnerable people by this fraudulent
corporation/company/association.


Respectful    Presented,                        Respectfully Pr~e,~ted,
                                                                 a   ,,~
BY:          ~~~           Cu Z6~1QL~           By:
Mont     aladez Dora licia,                     Hernandez   el, ar Jose Victor,
Pro    Plaintiff-Complaintant                   Pro Se P1 intiff-Complaintant
1642 Palisades Dr.                              F.C.I. Texarkana
Lewisville, Texas 75067                         P.O.BOX 7000
                                                Texarkana, Texas 75505-7000


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                 C E R T I F I C A T E      O F   M A I L I N G


We, Hernandez Cuellar Jose Victor and Montoya Valadez Dora Alicia, both Pro
Se, Plaintiffs/Aggrieved Parties, certifies and swear to be true and correct
under penalty of perjury that on this date, ~,~~ ~~y~ ~~ ,2022 have
served the enclosed COMPLAINT PURSUANT A CIVIL ACTION by depositing a copy
of this document in the U.S. Mail, proffer postage prepaid directed to the
following address:
                        George E. Brown, Jr. U.S. Courthouse
                           3470 Twelfth Street, 1st Floor
                              Riverside, CA 92501-3801

                                                            .,
By:       ~r/~~i                         By:
Monto   Valadez Dora Alicia,             Hernandez Cuel. r Jose Victor,
Pro 5e Plaintiff-Complaintant            Pro Se Plaintiff-Complaintant
1642 Palisades Dr.                       F.C.I. Texarkana
Lewisville, Texas 75067                  P.O.BOX 7000
                                         Texarkana, Texas 75505-7000



CC: P/File

Certificate Mail No.:

;~ ~Ob~C~;~~~~~ ~ D(XJ ~G~3-3 v3U
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                                                                                                  Eileen Raye.._....._.
                                                                                                  P.O. Box 5043
                                                                                                  Hemct, California (92544]
                                                                                                 (951)765-0835
 Greetings:                                                                                       elwav~hush.com

            Thank you for your inquiry. Weare anon-statutory,
   We operate only in the Private Domain becau                           common law Private Membership Association.
                                                    se the
   Domain. I do not solicit business from the public. If     police   power   ofthe State is ONLY allowed in the Public
   you are receiving this letter, either you or someone in you        want my assistance, you must contact me, and if
            People wonder what has happened to ourjusticeyour      syste
                                                                         behalf has contacted me.
   party in the court for a conviction? Why are                            m. Why do courts no longer require an in ured
   name appear.on all court documents, as if wethere      so many victimless crimes? Why does the all capita         l~etter
  The answer ~s because they abandoned commare          some kind ofcorporation? Why do they violate our rights
                                                     on  law
   brought inland, and they are only giving us military proces for   administrative law, which is really admiralty law?
  Trading with the Enemy Act. The Lieber Code rules. The s, as if we are enemies of the state under the
  and usufructuary of public estates. (That is why we will occupying army is regarded as the administrator
   Marshal.) The courts never have subject matter                  end up sending a criminal complaint.to the Provost
  impunity. Even the appellate courts are lawless.jurisd         iction, ~l~ey violate all the rules ofjurisdiction
                                                         I have come to the conclusion that there is no law for       , with
  people as long as we are under military occupation                                                                     the
  to be released from their rule we have to learn whatvia      it
                                                                  the emergency war powers. Therefore, if we want
  have created a public estate ~'or us to use and a ma.tching     is they   are  doing , and conform to their rules. They
  it and assigned the reversionary interest back to the ~rivate est?t?, but because ~*~e hive not accepted
  accountable. The surrender ofthe birth certificate is resent     United States for their use, they are holding us
  us the right to have our pro erty returned to us, and ~o              ing the certificate for enforcement which allows
  with the Discharge process~ That is nowhere near a compl       discharge debt. (This is something I will do for        you
            The only authority the codes have is over artificialete        explanation, but will have to suffice for now.
  have definitions ofthe "person" who is subject to the code,entities, thus the all capitalized name. All codes
  means the "person" subject to the code is only                       and it always includes an artificial entity, which
 artificial entities in their codes. Judges make silentan  artific ial  entity because they cannot mix the living with
  volunteering to act as the surety/trustee for the artificiarpresumptions that the Man appearing in court is
"citizen," "resident" and "taxpayer." So STOP volunt entity/all caps name on the complaint, as well as a
 subjects. We are private people, and not named in the eering, stop answering to those terms. Citizens are
                                                                 codes. Although one may be a.state citize when it
  is beneficial, and not a citizen when it is not
 born in Washington D.C. and do not live inbenefi         cial, one never wants to be a U.S. citizen. If you nwere       not
 Islands,etc.), you are NO'S', by legal definition,Washi     ngton DC or one of its territories (Puerto Rico, Virgin
 citizen" on government forms. That is howa they        U.S. citizen,so stop saying you are, an7 stop markin_ g"US.
                                                               trap us into their corporate jurisdiction. You are
 volunteering to be a US citizen when you sign the form,
 a US citizen if you are not included in the definition ofinclud           ing l 040 forms. It is perjury to swear you are
                                                                  such. Know the definitions, and don't be afraid
 alter a form. Put a line tllrough "U.S. citizen" and write in                                                            to
 out forms that are just for O.S. citizens, unless you are "Private American" or"State Citizen." Don't fill
 corrected, but knowingly waiving your rights puts you in willing to waive your rights. Mistakes can be
            Additionally, I Dave yet to see one code that has the    a bad position.
the face of it as publ fished. They did not accuse you                   constitutionally required enactment clause on
                                                           of violat   ing
 they accused you of violating a code, but they do not publis a statute(Statutes at Large or Session Laws),
 the enactment clause, it is not a valid law,and without a              h the enactment clause on the codes. Without
 in a court of common law, and it is true in an administrati      valid law,the court has no jurisdiction. This is true
 rulings that state this to be a fact.                               ve court, and we have hundreds of years of court
            What we have learned is that there are no courts of comm
 are legislative/administrative courts which do not have the                  on law in all of the country. ,All we have
ONLY a court of common law his the J~u~dic                              judicial authority to fine or imprison anyone.
 o~erating in fraud and all convictions are VOIDial        at►thorit;~ to fine or imp~:so^, t?:e:efore, ill
 o a constitutional right which would in a lawfu       . They are denying us the common law, which is courts    the
                                                                                                                         sre
                                                                                                                     denia  l
           If you live in V~lashington D.C~. .or considlercourt,    void the Judgment:
you are not a U.S. citizen,.so consider changing yourithome     home, 1 will have a difficult time convincing a court
is a commercial term which "they" use to put us                       location. I do not u'se the tzrm "address' as that
                                                           in  "their
citizens, and the government does not like it when Private " jurisdiction. I do not like dealing with U.S.
Know who you are and act accordingly. If                           Americans g~five out "state secrets" to U.S. citizens.
                                                  you
           If 1 send you any forms to be signed [ rec~don't    like being a U.S. citizen, change your location.
or woman does not use initials. Additionally, if nest          you to sign your full name, no mit~als. A private man
                                                         fillipg out a government form,.put your first and middl
names in the box for the "first name," as their fiction                                                                    e
"middle name" box blank. They trick us into doing italtheir     law does not recognize middle names, and leave the
want a middle initial because a name with an initial is               way so their rules will apply, and often
so they want us to be good slaves and follow                  the name of a fiction, and they only deal with they,      just
                                                                                                                  fictions,
                                                  their rules.
is the `Last, First Middle." You may want to consider doing       Some    thing  you should know is that your legal name
4doing business as) and claim the all caps name as your dba, an "assumed name" filing, often called a "dba"
` leasing" the all caps name, or illegally using it, as it technbecause the government considers us to be either
created it.                                                            ically belongs to the government because they
          ifyou want to be in the private, do not use atwo-letter state
Spell out the full name of the state. The Posta                                 abbreviation and do not use the zip code.
commercially. Stay in the private.                    l regulations state that a zip code is voluntary,        and is used
                                                     Attachment
                                                            Aa
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          Prisoner Dischar e Release 3500.00 for first court involved: Additional fee of $500
additiona tr~a not appea court ~nvo ve                                                                            per each
                                                      ~s can e one pre-tria
 probation.'Y`Iiis requires a fi rth certificate (or Naturalization Certificaand    post-conviction, and for those on
                                                                               te) and SSN. If a foreign~er, I at least
 need a SSN. This includes assigWing the reversionary interest of your birth          certificate and SSN to the U.S.
Treasury, thus allowing us to discharge your Judgment &Sentence. See 12
Treasury discharge paperwork goes.to the court with a demand for subrogation USC         and
                                                                                               95a(2). A copy of the
                                                                                              exonerat
release). The court will not honor it, as they refuse to admit either that they never had any ion (vacate and
that the discharge applies to the case, so we will end up sending a complain                             'urisdiction, or
judge will then be in insurrection and rebellion against the United States and        t to the Provost~arshal as the
          Non-Statuto Habeas Cor us 2500 for first court involved: Addition              US law.
additiona tria not appea court ~nvo ve                                                        al fee of $500 per each
                                                       ~s can e one pre-tr~a and post-conviction, but probation
cases will require the above Discharge Release because you are no longer           in
have aheady done a habeas for your case and when because that wiI1 tell me ifcustody              I need to know if you
                                                                                       1 can do the habeas at the state
 level, or if I can take it to the federal level. If the habeas is denied, it, too, will
the Provost Marshal. This process can be done for foreigners (those without a be             sent on as a complaint to
                                                                                          SSN).
          Important, please read and remember: The Provost Marshal complain
longer to be investigated,, depending on their workload. They will not contact metormay          you,
                                                                                                     take six months or
                                                                                                        unless they have
a question, which is not l~kery since they will go through your court record. So, once it goes
marshal, myJ'ob is done and I will not have any updates for you. When you are released, dotonot               the provost
                                                                                                                  sign any
agreements f"or probation, because I do not intend to do a second discharge for you. The discharge                  covers
everytheng,so do not allow them to trick you into signing for probation. Just say, `The er►tire matter has
discharged, and I have been released with no strings attached."                                                       been
          I do not know if the above discharge process will work for murder or sexually violent crimes or
where there is an actual victim. "That said, it does not appear to matter to the Qovernm
them are commercial, there is a price on all of them, and the court never hacksubject ent,               as all crimes to
which means even those types of cases were VOID, therefore, it is logical to presume theymatter      can  be
                                                                                                             jurisdiction,
                                                                                                              discharged.
However, my personal preference is not to work with those types of cases unless there is some                    reason to
believe you are not guilty, or were over-punished, asIdo not condone such crimes.
          1 follow God's laws. Even in God's laws, crime is a debt which is owed, but under God's law, no
one went to prison, and the debt is owed to the victim, not the government. One who committed a
other than serious crimes which called for the death penalty, owed a debt to the victim,                            crime,
repay the debt. In some cases the debt would be three to seven times what was stolen and                 was req~uired to
debtor could not repay the debt, lie was required to work off the debt, as a bond servant,or         but
                                                                                                        damaged. If the
                                                                                                          he was not put
in prison, he was not separated from his family. God's laws are just and fair to both the victim
offender.                                                                                                          and the
         Icannot make any guarantees as to what the courts will do, in fact,Iam certain they will not honor the law.
I can't control what the court decides, andIcannot control what you say in court, if your         attendance is required
(which is always the case in pre-trial cases not so much in post-conviction cases). A few judges        will obey the law,
and many will defy the law. 1f theJudge defies the law in this process, he will be in "insurrection       and rebellion to
the laws of the United States," and therefore, l will then file a criminal complaint against the judge and/or    court with
the Provost Marshal.
          Ican guarantee you will get professional, first-rate document preparation. Rememb that God is in control,
not me or you, and He knows the intent of the heart. God believes in a second chance, as er
mocked. I feel very strongly about this, andIhave a responsibility to God and society do I, but            He will not be
includes not helping someone whose heart is not right before God and who may continuetotodobeno         damage, and that
                                                                                                      a danger to society.
Iknow many have been falsely accused, false]y convicted, or hars~ily over-punished, and many have          been convicted
of victimless crimes. It is the injustice of our legal system which has caused me to extend my services.        Be advised
though, if you injure someone else when you get out (as in physical injury, theft,
Iwill not assist a second time~if you are guitty of an actual crime. Furthermore, etc.),    you'Il go right back in and
                                                                                      it has been said the republic is
going to be restored, wj~icl~ means common law will be restored to the courts.              This will wipe out all the
victimless crimes the courts love, but it also means if there is a victim, you will pay,       and no one will be able
to het ~~ou out, unless ±hey were actually to go to Biblical principles but what are the           chances of that?
          I still get inquiries about the private trust from time to time. 'I no longer do the private
one must be able to walk it into the Article III court in person, and prisoners cannot do that. trust              because
                                                                                                             Better to get
released before going into that.
          Please fill o~lt the enclosed 1) Information Fonn, 2) Limited Power
A~reement, and send to me with a cop of your Birth Certificate and a of                       Attorney and 3) Private
                                                                                           copy
In ormation/Indictment (for pre-trial cases~or your Judgment &Sentence, and the tee.of your Complaint/
          Thin s to remember: Please do not send documents without a
a fee is receive an wi not be responsible to return documents that fee,          are
                                                                                      as I will not open the file until
                                                                                      sent
me documents Ihave not requested, a ways keep a copy for yourself because ifIwithout                  a fee. If you send
                                                                                            don't need it,I may toss it
due to storage issues. When you are moved, please send me your new address. When                  emailing in behalf of
a prisoner, please put the,prisoner's name in the subject line so Iknow who you are talking              about, as it will
save me time and confuston, and get you a quicker response. IfI don't know
may ignore the email rather than search throwgh my member files to figure outwho               you are asking about, I
                                                                                          who you are asking about.
          DISCLAIMER:I am not an attorney, don't give legal advice, and don't represen              t anyone. I am only
providing a document preparation service through a private membership association, based
and experience I have. All prisoners were represented by attorneys, prosecuted by attorneys            on the knowledge
attorneys, and in the case of acourt-appointed attorney, they were all on the same payroll.                   , judged by
into prison without an attorney.The whole court system is afor-profit enterprise.                        One cannot get
         Ireserve the right to change the process as required to obtain           best results possible for you. You
are paying for a document preparation service and you acknowledgethe           there
          Please make payment to Eileen Raye ~,awrence. (Revised 8/25/]9)are no guarantees. Thank you.
                                                      Attachment
                                                             Ab
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                                    Information Form -Print carefully

Full legal name, no initials:   ~os~ U~c'~or I-Ierv,a~dez Cuellcxr
Name on the Charging instrument, if different:   X05 E     V t CT01Z N ~'~ 1~I At~l D E Z— C U E L~A2
Birth date:   11~ov 18 ~ 19~ y                   Birth State   Mov►~'errc~ A~~evc Leah , ~~.x~cc.

Inmate No:    ~(o (o ~ ~ — ~~                    SSN:

Date of arrest or imprisonment:    ~ ~y ~~fl~~.

Your street address: (where you will be returning or that of a family member):

 I loyo2 Pal~sct.c~es ~,r         e LP4liiS~l~Ie:   i~.xas      ~506~
Case Numbers) you are being held for: (for more than one court, use separate sheet of paper.)




Name of Court:     Un~~e~  S-~ate~ Dis~'ric~ ('ourf' Fas~eYN Des+Y~c~ o~FTexo~S
Mailing address of Court: ~ 94 0 ~r~s~av+ Roado ~ Tcxas ~ 5 Q a2.W
Prison name and address: [tdP~r~ .~ ,fir/[r~~ ~~r~~~~ja-~- Ct-aCa~~, ~ D. ~,~j

`7~, 7-~eX~-rl~...~~ ?~e~c~.,s ~j~o5
Name of Warden:

Did you do a state habeas corpus for this case and when?       lU 0

Name and address of Outside Contact, and does this person have power of attorney for you? ❑Yes ~'1Vo

   i~orca Afic~a ~1i~~~ova Valacles , i~ya ~I~.lis~des fir. , l.ew,s~~~le,


 Phone number of Outside Contact: ~ ~~~~ I ~~" O ~ S

 Email for Outside Contact:     JCIYCA~1-SQJ~YU ~ kl~/1 C~ v1C~tWlCa~ 1_+


 DOCUMENTS:

 For the Discharge Process I need a copy of your bi,~th certificate and copy of the ComplaindIndictment(if
 pre-trial) or Judgment &Sentence, and a copy of the final order of any appeal. This can be obtained from
 the Clerk of Court. If you are on probation, I also need a copy of the probation contract to accept.
 For the Habeas, I need a copy o;~ the Complaint/Indictment (ifpre-trial) or Judgment &Sentence, and the
 name of the warden. I will likely have you serve the warden with his copy, otherwise it would be too
 difficult to get him served. Then I send everything else to the court.




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 Case 5:22-cv-00196-FMO-SK Document 1 Filed 01/31/22 Page 10 of 33 Page ID #:10                                                         ~1




                                              LIMITED POWER OF ATTORNEY
                                                                           ( ~1                       a.~
The undersigned, one natural man known as(member's name~Se ~!:            ~'Or t~~~                 l as principal, on the Land
on the original jurisdiction of The State of~~~t5             ,the republic, does hereby designate Eileen Raye Lawrence of
Hemet, California, andlor her assignee as~attorney-in-fact for the principal, to act in the following capacity in
                                                                                                                  behalf of the
principal.

I.The attorney-in-fact shall have the power ofattorney to sign the principal's name to documents as ifthe principal
                                                                                                                      himselfwere
signing on said documents,or otherwise sign as Authorized Representative. The documents upon which the attorney
                                                                                                                       in fact shall
have authority to sign the principal's name, are limited in scope to the documents created by the Attorney-in-fact
                                                                                                                         which are
necessary to complete the agreed upon service. This limited power of attorney includes documents on behalf ofthe
                                                                                                                          principal,
and the authority to collect monies owed to the principal, but it does not extend to regular banking and/or the purchase
                                                                                                                            and sale
of property.
2. This special limited power ofattorney shall become effective immediately and shall remain in effect until the
                                                                                                                   documents are
prepared and any fees owed to the principal are collected,or until revoked or terminated as specified in paragraph 3
                                                                                                                       or extended
as specified in paragraph 4.
3. This power of attorney may be revoked,suspended or terminated in writing by principal with written notice to
                                                                                                                   the designated
attorney-in-fact.
4. This power of attorney may be extended as necessary by written authorization of principal with written
                                                                                                                     notice to the
designated attorney-in-fact.
5. The designated and acting attorney-in-fact and all persons dealing with the attorney-in-fact shall be entitled to rely
                                                                                                                          upon this
power of attorney so long as neither the attorney-in-fact nor any person with whom he was dealing at the time of any
                                                                                                                           act taken
pursuant to this power ofattorney, had received actual knowledge or actual notice ofany revocation,suspension, or
                                                                                                                       termination
ofthe power ofattorney by death or otherwise. Any action so taken, unless otherwise invalid or unenforceable, shall be
                                                                                                                            binding
on the heirs, devisees, legatees or personal representatives ofthe principal.
6. The estate ofthe principal shall hold harmless and indemni~ the attorney-in-fact from all liability for acts done in good
                                                                                                                                faith
and not in fraud ofthe principal.
7. The parties acknowledge and agree that the attorney-in-fact'authorized agent hereunder is not acting, and shall not be
                                                                                                                            deemed
to be acting as an accommodation party for the principal, and his acts and actions do not comprise an accommodat
                                                                                                                        ion, nor an
acceptance of liability.
8. This agreement itself shall govern this power of attorney.

This power of attorney is signed on this~~                   day of        Q        ~e~ ,201          , and to become effective as
provided in paragraph 2..

                                       QO
Signature                                                       __

Located at:    ~~                ~             1/~

            7~c~~                 7~-eX~3 ~'~5~a1~


     ess Signature                                                   Witness Signature

Printname:V~J~tI~ ~ (91~~f~'Q-Z-                                     Print name: ~plQQiy/~' ~ ~~~ 4 ~ryy~~,

Address: ~~~~ ~~D;Q~~                                                Address: ~ ~~~ ~Da.1-a~              IIUt~~~-




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      Case 5:22-cv-00196-FMO-SK Document 1 Filed 01/31/22 Page 11 of 33 Page ID #:11
                                                   PRIVATE MEMBERSHIP ASS
                    BY VOLUNTARY UND                                                        OCIATION CONTRACT
                                                       ERSTANDING AND INTENTION UND
                      under the First, Fifth and                                                               ER FREEDOM OF ASS
                                                         Fourteenth Amendments to the Cons                                                   OCIATION
                                                                                                        titution for the United States of
       Wherein the police power ofthe State                                                                                                     America
                                               ~ar~ ONLY be operated in the Publi
      On the date written below,the undersig                                           c Domain, we hereby establish this Agreemen
                                                  ned parties hereby mutually agree,                                                        t under the Private Doma
      law,Private Membership Association                                                understand, consent and volunteer to enter                                        in.
                                              for the advancement and protection ofGo                                                     into anon-statutory, com
     States of America and all state constituti                                             d-given tights which are protected by the                                    mon
                                                   ons. The undersigned is hereby applying                                                   Constitution for the United
     coordinator is Eileen Raye Lawrence                                                         for membership in the Association is know
                                             . It is hereby agreed that all conversati                                                           n as Omega-]7,and the
     transferred and/or received is not legal                                             ons, discussions, or other communication spok
                                                 or tax advice, legal or tax instruction, or                                                    en, written, or otherwise
     understand that any and all such pape                                                      otherwise in any way construed to~be such.
                                             rwork givenand/or received or otherwise                                                                The parties agree and
     at the voluntary request ofthe parties herei                                             disseminated by a party, on behalfofany other
                                                      n undersigned. Said communicatio                                                              party, is done ONLY
    .and is no more than the expressed belie                                                ns are only for purposes or benefits ofthe party
                                                 fs ofthe parties involved herein, and                                                              , herein undersigned,
     Raye Lawrence. The parties undersig                                                  is based on the experience, knowledge and/o
                                             ned herein understand and agree that Eilee                                                       r understanding ofEileen
     advice. 'Che parties herein understand                                                   n Raye Lawrence is NOT an attorney and
                                              and agee that Eileen Raye Lawrence                                                             is NOT giving legal or tax
    The undersigr►ed parties have voluntari                                             has no formal training in law,accounting,or other
                                               ly sought out Eileen Raye Lawrence for                                                              such trade or practice.
    have solely encountered on and by                                                       assistance because of, in, or for situations
                                          the undersigned parties' own actions.                                                            that the undersigned parties
    results, either positive and/or nega                                               Eileen Raye Lawrence is making no claims
                                         tive, and the use of any discussion                                                              of correctness, functionality,
    decisions of the parties involved. Furth                                      s or paperwork described herein or discussed
                                              er, it is agreed and understood that the                                                  by the parties, is by voluntary
    Lawrence against any and alI claim                                                   undersigned hereby a~ees to hold harmless
                                         s, decisions, judgments, or any other                                                              and indemnify Eileen Raye
    whether in written or spoken forrn.                                             action or result of the use of any or all comm
                                           The parties understand and agee that                                                         unications between the parties
    paRies and based on personal expe                                                  any and all communication of any sort is
                                          riences, mutual trust, and in the furth                                                       merely discussion between the
    signatures of the parties herein, they mutu                                       erance of knowledge for personal and priva
                                                    ally agree and covenant togeUker in hope                                               te benefit and use. By the
                                                                                                    s of and in search of legal, lawful and scrip
                                                                                                                                                    tural remedy.
   Eileen Raye Lawrence, coordinator,
                                                c/o P. O. Box 5043, Hemet, California
            ("Member") hereby agree that Asso                                                   [92544] and .JC+st ~lL~or Her
                                                       ciation will provide document preparati                                                vlAvtC~tZ C~ll~
   1.CONDiTiONS. This Agreement wil                                                                   on to Member on the terms set forth herein.
                                               Inot take effect, and Association will have
   copy of this Agreement and makes the                                                           no obligation to provide services, until Mem
                                                payment called for under Paragraph 4.                                                                ber returns a signed
   2. SCOPE OF SERVICES &FEES.
                                                  Association provides document preparati
   changes to the documents, or to the                                                              on services only. The Association reser
                                           process, as required as new information                                                                ves the right to make
  3. MEMBER'S DUTIES. Member                                                               becomes available.
                                             agrees to be truthful with Association,
  developments which may come to Mem                                                       to cooperate, to keep Association informed
                                                ber's attention, to abide by this Agreeme                                                        of any information or
  of Member's mail location, telephone                                                          nt, to pay Member's fees on time and to keep
                                                 number and whereabouts. Member                                                                     Association advised
  necessary for the assistance in the desc                                                  will assist Associat' n in providing infor
                                                ribed matter.                                                                                 mation and documents
  4. FEES. Check as applicable: o $350
                                                  0.00 Prisoner Discharge Release, and $500
  courts, not appellate courts). ■ $250                                                               .00 eac or           additional courts involved (these are
                                               0.00 Habeas Corpus, and $500.00 each                                                                                   trial
  Association is not involved in commerc                                                         for              additional courts involved (not appellate
                                                   e and has no checking account. Mak                                                                             courts).
  $25.00/hour or by the job for any othe                                                         e payment to Eileen Raye Lawrence. Mem
                                             r services requested by the Member,                                                                      ber agrees to pay
  Association for any expenses incurred in                                               as agreed upon at the-time the service is requ
                                                   behalf of Member, upon Member's                                                            ested, and to reimburse
  5.DISCHARGE AND WiTNDRAWAL.                                                               request.
                                                       Member may discharge Association at any
  or for good cause. Good cause includes                                                                  time. Association may withdraw with Mem
                                                Member's breach of this Agreement, refus                                                                    ber's consent
 matter or any fact or circumstance that                                                            al to cooperate or to follow Associatio
                                                 would render Association's continuin                                                         n's advice on a material
 conclude, all unpaid charges will immedia                                                    g services unlawful or unethical. When
                                                     tely become due and payable.                                                              Association's services
 6. DISCLAIMER OF GUARANTEE
                                                 AND ESTIMATES. Nothing in this
 will be construed as a promise or guar                                                       Agreement and nothing in Association's
                                            antee about the outcome of the ms~tter.                                                            statements to Member
 comments about the outcome of the matt                                                    Association makes no such promises or
                                                  er are expressions of opinion only.                                                     guarantees. Association's
 7. THIRD PARTIES. Member agree
                                             s not to involve any third parties in our
 8. ENTIRE AGREEMENT. This Agre                                                              business.
                                                ement contains the entire agreement of
 or before the effective date of this Agreeme                                                  the parties. No other agreement, statement
                                                      nt will he binding on the plrties.                                                         , or promise made on
 9. LAW OF THE CONTRACT. This is
                                                     a common law contract not subject
10. MODIFICATION BY SUBSEQUEN                                                                to statutes, codes or regulations of any state
                                                      T AGREEMENT. This Agreement may                                                              or nation.
by an instrument in writing signed by both                                                              be modified Uy subsequent agreement of
                                                     .of them or an oral agreement only to the                                                          the parties only
11. EFFECTIVE DATE. This Agreement                                                                     extent that the parties carry it out.
                                                      will govern all services performed by Asso
Association first performed services. The                                                                 ciatio n on behalf of Member commencing with
                                                    date at the beginning of this Agreement                                                                      the date
effect, Member will lie obligated to pay Asso                                                        is for reference only. Even if this Agreeme
                                                        ciation the reasonable value of any servi                                                      nt does not take
12. REFUNDS. There will be no refun                                                                     ces Association may have performed for
                                              ds issued once work has been started.                                                                    Member.
The parties have read and understand the
                                                  foregoing terms and agree to them as of
one member signs below, each agrees to be                                                         the date the Association first provided servi
                                                   liable, jointly and severally, for all obligation                                                 ces. If more than
of this signed agreement before returning                                                                s under this agr e ant. The member shou
                                                  to the Association. This agreement cons                                                                ld make a copy
                                                                                                   titutes the entire a e ~of of the parties unde
                                                                                                                                                         rsigned below.
by: 8~ ~~ <'aaKuree
  Eileen Raye Lawrence             Date
  elway@hush.com                                                                 Member Signature
  c/o P.O. Box 5043
  on Hemet                                                                       Print Name: ,)p5~ ~Ir ~DY ~er huvi d
                                                                                                                                         ez C_~.cllar
  on California
                                                                                 Address: ~~~ ~ ~o~,~lSo~c~e5
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      Case 5:22-cv-00196-FMO-SK Document 1 Filed 01/31/22 Page 14 of 33 Page ID #:14
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       ~8                   UNITED STATES DISTRICT COURT,EASTERN DISTRICT OP TEXAS

       9
             Jose Victor Hernandez-Cuellar, Sole Beneficiary             Non-Statutory Habeas Case No.
      10     of the JOSE VICTOR HERNANDEZ-CUELLAR
             Cestui Que Vie trust,
      11                                          Petitioner,
                                                                         Original Case No.
      12     v.
                                                                         4:16-CR-00111-ALM-KPJ-1
      13          chard Wolfe, Acting Warden, or successor                Civil No.4:20cv134-ALM-KPJ
                                                                                     Memorandum of Law
      14                                            Respondent.              Original Constitutional Non-Statutory
                                                                                         Habeas Corpus
      15

      16
                           In Support of Texas Habeas Corpus —Not to be converted into a Statutory Writ
      17
                     COMES NOW THE PETITIONER,Jose Victor Hernandez-Cuellar, who is unschooled in law and
      1g    speaks only guttural vernacular, to apply his right to the Writ of Habeas Corpus to inquire as to the Nature
            and Cause ofHis detention in Federal Correctional Institution. Respondent has 72hours to produce the body
      19
            to the court.
     20              The Petitioner was brought before a commercial, non-constitutional court which is_ listed on Dun &
            Bradstreet, having nothing to do with the dejure republic of the people. The court has a DUNS number;
     21     EIN, CAGE Codes, and is operating in commerce, for profit. The court receives an income stream from
            every conviction, which is a huge conflict ofinterest. All BAR licensed attorneys have a conflict ofinterest
     22     because their first loyalty is to the court,not the client, thus depriving the defendant ofdue process by failing
            to properly challenge the jurisdiction of the court and its unconstitutional operations.
     23

     24     1. No meaningful hearing before an Article IlI Court of Record has occurred prior to incarceration; a court
            of record being defined as a court proceeding according to the course of the common law, which is a
      25    constitutionally guaranteed Right.
            2. In the alternative to common law, no signed contract was entered into the court record, and no argument
      26    made that such a contract exists or was breached, which is a requirement ofan admiraltyjurisdiction(which
            only exists on a federal level).
      27
            3. Asfor a so-called "statutoryjurisdiction,"(not mentioned in any constitution) the code(s),as charged and
      2g    as published, do not contain the constitutionally and lawfully required enactment clause on the face of the

            Non-Statutory Habeas —Memorandum ofLaw —Page 1

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     Case 5:22-cv-00196-FMO-SK Document 1 Filed 01/31/22 Page 15 of 33 Page ID #:15
      ..Case 4:20-cv-00134-ALM-KPJ Document 1. Filed 02/24/20 Page 2 of 2 PagelD #: 2




1     code(s), and therefore, are not valid law, which is required to grant the court jurisdiction.
2     4. No explanation of the Nature and Cause of the Action has been explained to petitioner prior to
       incarceration.
 3    5. No assistance of independent Counsel (uninfluenced by obligations and first-loyalty to the court) was
      afforded petitioner.
4     6. Subject matter Jurisdiction was not established prior to incarceration, and cannot be waived.
      7. That Petitioner has been denied all constitutional due process according to the Constitution for the United
5     States of America and the Texas constitution. He was never charged with a common law crime. There was
6     no corpus delicti (injured people), he was denied a common law bail, there was no common law search
      warrant, there was no common law arrest warrant, there was no grand jury indictment, he was denied a
 ~    common law jury, he was denied a common law court, he was denied his freedom, he was falsely arrested
      and kidnapped, lie was denied his choice of counsel (other than a BAR attorney /Esquire /officer of the
8     court), he was subjected to slavery/forced labor, held for ransom and the court d'id notand does not use gold,
      Ise was denied his rights secured by both constitutions, specifically, the right to free speech as guaranteed
9     by the First Amendment, all of which is waging war against both the U.S.A. and Texas constitutions, which
      ~s warring against our republic form of government and warring against"we the people" who created it. It
10
      is also deprivation of rights and conspiracy to deprive rights under color of law, 18 USC 241 and 242.
~I    8. Petitioner demands immediate implementation of this Writ.
      9. Any de~lial of this writ must in writing with full findings offact and conclusions of law.
12
               DATED this~day of~~ crn ru,~,✓~,.~                                     ,2019.
13
14                                           Respectfully presented/All rights reserved.

15

16                                               ... Hernandez-Cuel ar, Jose Victor, n n-negotiable autograph
17

18
                                                        Certification of Mailing
19    f certify to be true and correct under penalty of perjury under the laws of the California republic that on this date f placed a
      copy of this document in the United States mail, proper postage prepaid, directed to Richard Wolfe, Acting Warden, or
20    successor warden, FEDERAL CORRECTIONAL INSTITUTION, P.O. Box 9500, Texarkana, Texas 75505.

2l

22                         }       r                  > Date: ~ /t~ 7.r1               /~i,Yx,~j`—      '_Sens
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       Non-Statutory Flabeas —Memorandum of Law —Page 2

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Case 5:22-cv-00196-FMO-SK Document 1 Filed 01/31/22 Page 16 of 33 Page ID #:16

    Case 4:20-cv-00134-ALM-KPJ Document 3 Filed 02/26/20 Page 1 of 2 PagelD #: 9



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DNISION


   JOSE HERNANDEZ-CUELLAR #26608078 §

   VS.                                               §             CIVIL ACTION NO. 420cv134
                                                     §         CRIMINAL ACTION NO.4:16cr111(1)
   UNITED STATES OF AMERICA

                                                ORDER

           Pro se Movant Jose Victor Hernandez-Cuellar filed what is construed as a motion to vacate,

   set aside, or correct sentence pursuant to 28 U.S.C. § 2255. The Supreme Court ofthe United States

   has held that a court must notify a pro se litigant that it intends to re-characterize a pleading as a

   motion pursuant to 28 U.S.C. § 2255 with a warning that such re-characterization means any future

   § 2255 motions will be subject to restrictions on "second or successive" § 2255 motions. Castro v.

    United States, 540 U.S. 375, 383(2003). Accordingly, if Movant does not wish for his documents

   to be construed as a § 2255 motion, Movant should notify the Court within thirty days that he would

   like the documents withdrawn. At that time, the Court will dismiss the instant action without

   prejudice, and the action will not serve as Movant's first § 2255 motion.

           If, however, Movant wishes to continue with the motion construed as a § 2255 motion, then

   Movant must submit the motion on the standardized § 2255 motion to vacate, set aside, or correct

   sentence form that has been adopted by the Court. The Court is unable to perform initial screening

   procedures due to a lack of information. See Rule 4, Rules Governing Section 2255 Cases.fvr

   theUnited States District Courts. Furthermore,Movant is cautioned that ifhe wishes to proceed with

   a § 2255 motion, he should include all claims he wishes to raise as he will not be allowed to file a

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Case 5:22-cv-00196-FMO-SK Document 1 Filed 01/31/22 Page 17 of 33 Page ID #:17
   Case 4:20-cv-00134-ALM-KPJ Document 3 Filed 02/26/20 Page 2 of 2 PageiD #: 1d



    second or successive § 2255 motion in the future unless the United States Court of Appeals for the

    Fifth Circuit grants him permission to do so.

           It is accordingly ORDERED the Clerk ofthe Court send a standard § 2255 form to Movant

    along with this Order. It is further ORDERED Movant has thirty days from the receipt ofthis Order

   to either(1) notify the Court he does not wish to have his motion construed as a ~ 2255 motion, or

   (2)complete the § 2255 form fully and legibly, and submit it to the Court should he wish to proceed

    with a ~ 2255 motion. Movant is placed on notice the lawsuit maybe dismissed if he fails to timely

   comply with this Order.

             So ORDERED and SIGNED this 26th day of February, 2020.




                                                    KIMBERLY C. PRIES JOHNSON
                                                    UNITED STATES MA ISTRATE JUDGE




                                            Attachment
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Case 5:22-cv-00196-FMO-SK Document 1 Filed 01/31/22 Page 18 of 33 Page ID #:18




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                                                                                                   c/o P.O. Box 5043
                                                                                             on Hemet (near 92544]
                                                                                               on California Republic
                                                                                          non-domestic, ZIP excepted
                                                                                            without the United States
                                                                                                     (951)765-0835
 March 16, 2020

 Dora Montoya
 1642 Palisades Drive
 Lewisville, Texas [75067]

 Re:         Jose Victor Hernandez-Cuellar

 Dear Dora:

 I am in receipt of the court orders Jose sent me. Please tell him I will do the complaint as soon as I can,
 but that it is not quite ready yet. The complaint is something new, and I have a lot ofthem to do, so don't
 expect it too soon. I'll send him a copy when I send it to Congress, and then he will know it has been
 done.

                                             Sincerely,

                                             ~tleay




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Case 5:22-cv-00196-FMO-SK
Case: 4:20-cv-00134-ALM-KFJ Document 1 #:
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                          IN THE UI~IITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION


 JOSE HERNANDEZ-CUELLAR #2b608-078

 vs.                                                            CML ACTION NO.4:20cvI34
                                                            CRIMINAL ACTION NO.4:16cr111(1)
 UNITED STATES OF A.IV~ERICA

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

          Pro se Movant rose Hernandez-Cuellar filed the above-styled and numbered cause. It was

 referred to the undersigned United States Magistrate Judge for findings offact, conclusions oflaw,

 and recommendations for the disposition ofthe case pursuant to 28 U.S.C.§ 635,and the Amended

 Order for the Adoption ofLocal Rules for the Assignment ofDuties to the United States Magistrate

 Judge.

          On February 26,2024,the Court ordered Movantto notify the Court ifhe wishes to have his

 motion construed as a § 2255 motion and if sfl, complete and return a standard § 2255 form within

 thirty days. As oftoday's date,the Court has notreceived a notification or the standard § 2255 £orm.

 M~vant has failed to prosecute this case. Fed. R. Civ. P. 41(b).

          The exercise of the power to dismiss for failure to prosecute is committed to the sound

 discretion ofthe Court and appellate review is confined solely in whether the Court's discretion was

 abused. Green v. Forney Eng'g Co., 589 F.2d 243, 247 (Sth Cir. 1979); Lopez v. Aransas Cty.

 Indep. Sch..Uist.,57Q F.2d 541,S44(Sth Cir. 1978). Not only may a district court dismiss for want

 ofprosecution upon motion ofa defendant, but it may also,sua sponte,dismiss an action whenever

 necessary to achieve the orderly and expeditious disposition ofcases..4nthony v. Marion Cty. Gen.

 Hosp., b17 F.2d 1164, 1167(5th Cir. 1980). The present case should be dismissed.


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Case 5:22-cv-00196-FMO-SK Document 1 Filed 01/31/22 Page 20 of 33 Page ID #:20
Case: 4:20-cv-00134-ALM-KPJ           Document #: 7-1        Date Filed: 06!11/2020        Page 2 of 2
                                                                                                 ,, .
                                                                                                 11
                                      RECOMMENDATYON                                                    ^ ~~
         Yt is therefore recommended that the petition be dismissed without prejudice. Fed. R.. Civ,

 P.41(b). Within fourteen days after service ofthe magistrate judge's report, any party must serve

 and file specific written objections to the findings and recommendations of the magistrate judge.

 28 U.S.C. § 635(b}(1)( C). To be specifc, an abjection must identify the specific fording or

 recommendation to which objection ~s made,state the basis for the objection, and specify the place

 in the magistrate judge's report and recommendation where the disputed determination is found.

 An objection that merely incorporates by reference or refers to the briefing before the magistrate

judge is not specific.

        Failure to file specific,written objections will bar the party from appealing the unobjected-to

 factual findings and legal conclusions ofthe magistratejudge that are accepted by the district court,

 except upon grounds of plain error, provided that the pazty has been served with notice that such

 consequences will result from a failure to object See bouglass v. United Servs. Auto. Ass'~i,79 F.3d

 1415,1430(5th Cir.1996)(en Banc},superceded bystatuteon othergroui:ds,28 U.S.C.§ 636(b)(1)

(extending the time to file objections from ten to fourteen days).

         So ORDERED and SIGNED this 11th day of dune,2Q20.




                                                KIMBERLY C.PRIES           JOHNSON
                                                UNITED STATES M~           ISTRATE JUDGE



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 Case 4:20-cv-00134-ALM-KPJ
Case: 5:22-cv-00196-FMO-SK Document
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                         IN TIC iJNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION


 JOSE HERNANDEZ-CUELLAR #26608-078 §

 VS.                                             §             CIVIL ACTION NO.4:20cv134
                                                 §         CRIMINAL ACTION NO.4:16cr111(1)
 UNITED STATES OF AMERICA                        §

                                    ORDER OF DISMISSAL

         This civil action was referred to United States Magistrate Judge Kimberly C.Priest Johnson.

 The Report and Recommendation ofthe Magistrate Judge,which contains proposed findings offact

 and recommendations for the disposition ofsuch action, has been presented for consideration. No

 objections were timely filed. The Court concludes that the findings and conclusions of the

 Magistrate Judge are correct, and adopts the same as the findings and conclusions of the Court.

         It is therefore ORDERED the motion to vacate, set aside, or correct sentence is

 DISMISSED without prejudice. It is further ORDERED all motions by either parry not previously

 ruled on are hereby DENIED.

       SIGNED this 20th day of July, 2020.




                                               e~%
                                                  ~~~
                                    AMOS L. MAZZANT
                                    UNITED STATES DISTRICT JiJDGE




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 Case4:20-cv-00134-ALM-KPJ
Case: 5:22-cv-00196-FMO-SK Document
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                          IN TIC iJNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION


  JOSE HERNANDEZ-CLTELLAR #26608-078 §

  VS.                                            §             CIVIL ACTION NO.4:20cv134
                                                 §         CRIMINAL ACTION NO. 4:16cr111(1)
 UNITED STATES OF AMERICA                        §

                                       FINAL NDGMENT

          Having considered the motion to vacate, set aside, or correct sentence, and rendered its

  decision by Order issued this date, the Court ORDERS that the case is DISMISSED without

  prejudice.

        SIGNED this 20th day of July,2020.




                                                     j~~~~
                                     AMOS L. MAZZANT
                                     ITNITED STATES DISTRICT JUDGE




                                            Attachment
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Case 5:22-cv-00196-FMO-SK Document 1 Filed 01/31/22 Page 23 of 33 Page ID #:23




 Fi~een Raye -Paralegal Services

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                                                                                                        (c)S I) ?U ~ ~Ilti::

 Jose Victor Hernandez-Cuellar
c/o Dora Montoya
c/o 1642 Palisades Drive
Lewisville, Texas [75067)
 non-domestic, Z1P excepted, without the United States
[zip code exempt DDM 602 1.3 e.(2)]

 Dear Jose:

         Thank you for you- letter. 1 see the court has denied the habeas, calling it a motion to vacate.
 which is about the same thing. There is no point in doing a com}~laint to the provost marshal because he
 has not done his job in regard to any complaint in the past. 1 have done some complaints to congress a
 few months ago, but they are so busy trying to get rid of Trump,they are not doing their jobs, either. I
 don't know what to do at this point, because there seems to be no remedy.
         Trump has ordered thlt the courts go back to common law, and that is your remedy, but they
 have not done so yet. Congress will have to reassign them as Article I[I courts of common law, and
 congress, again, is too busy defying Trump to do their job. As they stand, the USDC cannot rule
 according to the common law because they do not have the judicial authority to do so. Until the
 NESARA law is fully implemented, I don't know where we stand. We will have to wait until congress
 complies with NESARA,taking us back to the original constitution and common law.
          You have something like a 20 year sentence, so 1 don't think they will be deporting until your
 sentence has been served, and surely before that we will be back to common law, however, 1 cannot assist
 w ith an actual detainer. We will have to overturn the conviction.
          As for your questions, I don't get involved in lawsuits or torts. Those are too complicated and
 time cons~iming. That is something for an attorney to do, but 1 do not know anyone. Under NESAItn
 law, attorneys will be re-educated in common law, and so will judges. That should help.
          You could become secured parties, but it won't do you any good in relation to your conviction car
 i mmigration. It won't stop anything. You cannot become a Private American National because you wa•c
 not born here, and as far as 1 know, not naturalized, so that option is out.
          1 will keep your file open, and if there is anything we can do in the future, I'll contact you about
 it. Until then, there is nothing else to be done right now. The country is in a transition right now, and
 things will be a lot better in the Future — if the rioting communists don't take over. I don't think that will
 happen, but keep praying. Thank you for the photo.

                                           Sincerely,




                                               Attachment
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    Case 5:22-cv-00196-FMO-SK Document 1 Filed 01/31/22 Page 24 of 33 Page ID #:24




                      ~T IK
                          H e~iN[)YMs4fV               SERVICES
                              LEWISVILLE -THE COLOPIY -LAKE DALLAS - FRISCO




                      VIKTORHAND'YMAP~(~HOTMAIL.COM
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                      LIGHT SWITCHES                  SHEET ROCK HOLES &CRACKS
                      CEILING FANS                              TEXTURE REMOVAL
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                      NEW LIGHT FIXTURES                         RUNNING TOILETS
                     GARBAGE DISPOSAL                             ALL ASSEMBLED
                     SMALL PAINT JOBS                          FROM IKEA, LOWES,
                     DRAIfV CLEANIPJG ON               OR HOME DEPOT FURNITURE


                     CABINETS AND FURNITURE KNOBS     469.464.6723
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       Handyman Service    Document 1 Filed 01/31/22 Page 26 of 33 Page ID #:26
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           ABOUT                                                                                                          ~'BUb'INEcS IIJ F'U
                                                                                                         F~lil                                          ~~it
            How does your service stand out?

           The daily goal is the sa;isfac5on of our customers. ThaYs why we work so honest, clear;                                   Y 3 4 ~ :~ Jt
           and reasonably priced.high qualmy residential

           What do you e~~joy about the work you do?
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              working with a new aistomer?                       system for your service? if so,                 this type of work?
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              Describe a recent project you                      What advice would you give a                    you worked with?
              are fond of. Haw long did it                       customer looking to hire a
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                                         HANDYMAN              SERVICES


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Case 5:22-cv-00196-FMO-SK Document 1 Filed 01/31/22 Page 29 of 33 Page ID #:29




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Case 5:22-cv-00196-FMO-SK Document 1 Filed 01/31/22 Page 31 of 33 Page ID #:31




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